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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                  Case No. 20-CR-00322 ODW
12                Plaintiff,                    ORDER RE MOTION TO WITHDRAW
13                                              AS COUNSEL
           vs.
14   RAMON ABBAS,
15                Defendant.
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18         IT IS HEREBY ORDERED,
19         that attorneys Gal Pissetzky and Vicki I. Podberesky, be relieved as counsel for
20   Defendant Ramon Abbas for the reasons set forth in the Motion to Withdraw as
21   Counsel and the Declaration of Gal Pissetzky. A Public Defender shall be assigned
22   to Mr. Abbas until a substitution of attorney is filed.
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24   Dated: January 25, 2021
                                             HON. OTIS D. WRIGHT
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                     [PROPOSED] ORDER RE MOTION TO WITHDRAW AS COUNSEL
